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Todd l\/I. Friedrnan (SBN 216752)
Nleholas J . Bontrager (SBN 252114)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CAsEY BLoTZER, INDIVIDUALLY) ease NO_ SACV14_00151AG(ANX)
AND oN BEHALF oF ALL oTHERs)

 

sIMILARLY SITUATED, ) CLASS ACTION
)
Plaimiff, ) COMPLAINT FOR VIOLATIONS
) OF:
VS. )
) TH;E TELEPHONE CONSUMER
PRoTECTIoN ACT [47 U.S.C.
) §227 ET SEQ.]
EXTERIOR SPECIALIST dba )
PACIFIC COAST HOME )
SOLUTIONS, )
) DEMAND FoR JURY TRIAL
Defendant. )
)
)
)
)

 

Plalntiff, Casey Blotzer (“Plaintiff’), on behalf of herself and all others

similarly situated, alleges the following upon information and belief based upon

personal knowledge:
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///

 

CLASS ACTION COMPLAINT
-1-

 

 

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LAW OFFICES OF TODD l\/l. FRIEDMAN,
369 S. Doheny Dr., #415 ';’" -;:_
Beverly Hills, CA 9021 l m;j;§; §
Phone: 877-206-4741 §§:`_ go d
Fax: 866-633-0228 :§_`_q‘ 1
tfriedman@attomeysforoonsurners.com rig-1 g
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Cas’e 8:14‘-cV-00151-AG-A,Document 1 Filed 02/03/14 Pagegof 12 Page |D #:d

NATURE OF THE CASE

l. Plaintiff brings this action for herself and others similarly situated
seeking damages and any other available legal or equitable remedies resulting
from the illegal actions of Exterior Specialist dba Pacific Coast Horne Solutions
(“Defendant”), in negligently, knowingly, and/cr Willfully placing sales7
solicitations and/or other teleniarl<eting calls to Plaintif`f’s residential telephone
despite Plaintiff being registered With the National Do Not Call Registry and in
violation of the Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq.
(“TCPA”), thereby invading Plaintiff’s privacy.

JURISDICTION & VENUE

2. 'l`his Court has federal question jurisdiction because this case arises
out of violations of federal laW. 47 U.S,C. §227(b); Mz'ms v. Arrow Fz'n. Servs.,
LLC, 132 S. Ct. 740 (2012).

3. Venue is proper in the United States District Court for the Central
District of` California pursuant to 18 U.S. C.1391(b) and 18 US.C.§1441(Q)
because Defendant does business Within the state of Calif`ornia and Plaintiff
resides within this district

PARTIES

4. Plaintiff, CASEY BLOTZER (“Plaintiff”), is a natural person
residing in California and is a “person’° as defined by 47 U.S.C. § 153 (10).

5. Plaintiff is informed and believes, and thereon alleges, that the
Defendant, Exterior Specialist, Inc. dba Pacific Coast Horne Solutions, Inc.
(“Defendant”), is a corporation Whose State of Incorporation and principal place
of business is in the State of California. The Defendant provides and installs
energy efficiency products and is a “person” as defined by 4 7 U.S.C. § 153 (10).

6. The above named Defendants, and their subsidiaries and agents, are

collectively referred to as c‘Defendants.”
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CLASS ACTION COMPLAINT
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FACTUAL ALLEGATIONS

7. Beginning on or about July 29, 2013, Defendant contacted Plaintiff
on her residential home telephone number ending in 7299, in an effort to solicit
Plaintiff to purchase its products

S. Specifically, Defendant placed telephone calls to Plaintiff’ s home
telephone utilizing a pre-recorded message soliciting Plaintiff to contact
Def`endant to purchase energy efficient products Which it claimed Would reduce
her energy bill.

9. Defendant’s telephone calls are solicitations calls as Defendant
intentionally placed calls to Plaintiff, and the putative class, seeking to encourage
Plaintiff to purchase its products The purpose of such calls is to secure
individuals to purchase the company’s products so that Defendant can receive
compensation for its products and installation

lO. Further, Defendant’s telephone calls constitute solicitation calls as
Defendant seel<s to secure Plaintiff’s expenditure of resources, namely Plaintiff’s
time, energy and money, to further Defendant’s business

ll. Since July of 2013, Defendant has placed no less than two (2) such
telephone calls to Plaintiffs residential home telephone leaving messages as
described above

12. Plaintiff is not a customer of Defendant, has never provided any
personal information, including her home telephone number, to Defendant for any
purpose Whatsoever, nor has Plaintif`f purchased or used any goods or services
offered by Defendant at any time prior to the filing of the instant Complaint.

13. Furthermore, Plaintif`f has had her home telephone number ending in
7299 continuously registered With the National Do Not Call Registry since
February 13, 2011.

14. All calls placed by Defendant to Plaintiff utilized an “automatic
telephone dialing system”, as defined by 4 7 U.S.C. § 22 7(61) (1).

 

CLASS ACTION COM.PLAINT
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Case 8:14ch-00151-AG-A,Document 1 Filed 02/03/14 Pagieq of 12 Page |D #:'

15. All voice messages made by Defendant to Plaintiff utilized an
“artificial or prerecorded voice” as defined by 4 7 U.S.C. § 227(}))(1)(/1).
16. Defendant’s calls constituted calls that Were not for emergency
purposes as defined by 47 U.S.C. § 227(£)) (])(A).
CLASS ALLEGATIONS
17. Plaintiff brings this action on behalf of herself and all others
similarly situated, as a member of the proposed class (hereafter “The Class”)

defined as folloWs:

All persons Within the United States Who, Within the
four years prior to the filing of this Complaint, received
any sales or solicitation telephone calls from Defendant
to said person’s telephone Who had registered said
telephone With the National Do Not Call Registry and
Who had not maintained a business relationship With
Defendant Within eighteen (18) months of receiving
Defendant’s calls

18. Plaintiff represents, and is a member of, 'l`he Class, consisting of All
persons Within the United States Who, Within the four years prior to the filing of
this Complaint, received any sales or solicitation telephone calls from Defendant
to said person’s telephone Who had registered said telephone With the National
Do Not Call Registry and Who had not maintained a business relationship With
Defendant Within eighteen (18) months of receiving Defendants’ calls

19. Defendant, its employees and agents are excluded from The Class.
Plaintiff does not know the number of members in The Class, but believes the
Class members number in the thousands, if not more. Thus, this matter should be
certified as a Class Action to assist in the expeditious litigation of the matter.

20. The Class is so numerous that the individual joinder of all of its

members is impi‘actical. While the exact number and identities of The Class

 

 

CLASS ACTION COMPLAINT
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members are unknown to Plaintiff at this time and can only be ascertained
through appropriate discovery, Plaintiff is informed and believes and thereon
alleges that The Class includes thousands of members Plaintiff alleges that The
Class members may be ascertained by the records maintained by Defendant.

21. Plaintiff and members of The Class were harmed by the acts of
Defendant in at least the following ways: Defendant illegally contacted Plaintiff
and Class members via their personal telephones despite Plaintiff and The Class
invoking their rights afforded by the National Do Not Call Registry to be free of
unwanted telemarl<eting calls at their private residences, thus invading the privacy
of said Plaintiff and Class members

22. Common questions of fact and law exist as to all members of 'l`he
Class which predominate over any questions affecting only individual members
of The Class These common'legal and factual questions, which do not vary
between Class members, and which may be determined without reference to the
individual circumstances of any Class members, includeJ but are not limited to,
the following:

a. Whether, within the four years prior to the filing of this
Complaint, Defendant made any sales or solicitation call
(other than a call made for emergency purposes or made with
the prior express consent of the called paity) to a Class
member who had registered his or her telephone on the Do
Not Call Registry and who did not have a business
relationship with Defendant within eighteen (18) months prior

to receiving said calls;

b. Whether Plaintiff and the Class members were damages
thereby, and the extent of damages for such violation; and

c. Whether Defendant should be enjoined from engaging in such
conduct in the future.

 

 

 

 

 

CLASS ACTION COMPLAINT
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23. As a person that received sales/ solicitation calls from Defendant on a
telephone number registered with the Do Not Call Registry and who had no
previous business relationship with Defendant, Plaintiff is asserting claims that
are typical of The Class

24. Plaintiff will fairly and adequately protect the interests of the
members of The Class Plaintiff has retained attorneys experienced in the
prosecution of class actions under the Telephone Consumer Protection Act.

25. A class action is superior to other available methods of fair and

efficient

adjudication of this controversy, since individual litigation of the claims of all
Class members is impracticable Even if every Class member could afford
individual litigation, the court system could not. lt would be unduly burdensome
to the courts in which individual litigation of numerous issues would proceed.
lndividualized litigation would also present the potential for varying, inconsistent,
or contradictory judgments and would magnify the delay and expense to all
parties and to the court system resulting from multiple trials of the same complex
factual issues By contrast, the conduct of this action as a class action presents
fewer management difficulties conserves the resources of the parties and of the
court system, and protects the rights of each Class member

26. The prosecution of separate actions by individual Class members
would create a risk of adjudications with respect to them that would, as a practical
matter, be dispositive of the interests of the other Class members not parties to
such adjudications or that would substantially impair or impede the ability of such
non-party Class members to protect their interests

27. Defendant has acted or refused to act in respects generally applicable
to The Class, thereby making appropriate final and injunctive relief with regard to

the members of the Class as a whole.
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CLASS AC'I`ION COMPLAIN'I`
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FIRST CAUSE OF ACTION
Violations of the Telephone Consumer Protection Act
47 U.S.C. §227 et seq.

28. Plaintiff repeats and incorporates by reference into this cause of
action the allegations set forth above at Paragraphs 1-28.

29. The foregoing acts and omissions of Defendant constitute numerous
and multiple violations of the TCPA, including but not limited to each and every
one ofthe above cited provisions of 47 U.S.C. § 227 et seq.

30. As a result of Defendant’s violations of 47 U.S.C. § 227 et seq.,
Plaintiff and the Class l\/lembers are entitled an award of 3500.00 in statutory
damages, for each and every violation, pursuant to 47 US. C. § 22 7(0) (5)(B).

31. Plaintiff and the Class members are also entitled to and seek
injunctive relief prohibiting such conduct in the future.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests judgment against Defendants for the following:

FIRST CAUSE OF ACTION

Violations of the Telephone Consumer Protection Act
47 U.S.C. §227 et seq.

»As a result of Defendants’ violations of 47 U.S.C. §227, er seq.,
Plaintiff and the Class members are entitled to and request $500.00
in statutory damages, for each and every violation, pursuant to 47
U.S.C. 227(6)(5)(£3); and

¢ Plaintiff and the Class members are also entitled to and seek
injunctive relief prohibiting such conduct in the future.

0 Any and all other relief that the Court deems just and proper.

 

 

 

 

 

CLASS AC'I'ION COMPLAINT
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Case 8:14-'cV-00151-AG-AV\HJocument 1 Filed 02/03/14 Page 8 of 12 Page |D #:1

TRlAL BY JURY

Pursuant to the seventh amendment to the Constitution of the United States of

America, Plaintiff is entitled to, and demands, a trial by jury.

Respectfully Submitted this lanuary 3, 20l4.

LAW OFFIC? OF?T)y/L FRlEDl\/IAN, P.C.
By:

road M. Frie'dman
Law Offices of Todd M. Friedman

 

CLASS ACTION COMPLAINT

 

 

 

 

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Case 8:14-cv-00151-AG-AN Document 1 Filed 02/03/14 Page 9 of 12 Page |D #:12

FILED - SOUTHERN Dl\/IS|ON
CLERK. U.S. DISTR|CT COURT |

 

UNITED STATES DISTRICT COURT FEB __ 3 2014
CENTRAL DISTRICT OP CALIFORNIA

 

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This case has been assigned to District ludge Andrew ]. Guilford and the assigned

Magistrate judge is Arthur Nakazato

The case number on all documents filed with the Court should read as follows:

»»»»» ~‘*~ ~ ~* - -~ sAcv i4-00-i»5-i~AG-(ANX)--»__ ____-__ _______ ______ __

Piirsuant to General Order 05-07 of the United States District Court for the Central District of

California, the Magistrate ]udge has been designated to hear discovery related motions

A]l discovery related motions should be noticed on the calendar of the Magistrate ]udge_

Clerk, U. S. District Court

 

 

 

 

l/
Febmary3,2014 By D_VO
Date Deputy Clerk
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A copy of this notice must be served with the summons and complaint on all defendants (1f a removal action is

filed, a copy ofthi$ notice must be served on allplaintijj"s).

Subsequent documents must be filed at the following location:

:] \Nestern Division Southern Division g Eastern Division
312 N. Spring Street, G-S 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angcles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location Will result in your documents being returned to you.

 

CV-IS (08/13) NOTICE OF ASSIGNMEN'I` TO UNI'I`ED STATES }UD GES

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ClVlL COVER SHEET
DEFENDANTS

1. (a) PLA|NT|FFS ( Check box if you are representing yourself m ) {Check box lfyou are representing yourself m )

C/-\SEY BLOTZER, |ND|VIDUALLY AND ON BEHALF OF ALL OTHERS SIM|LARLY
SITUATED

EXTERlOR SPEC|AUST dba PACIF|C COAST HOME SOLUUONS

 

County of Resldence of Flrst Listed Defenclant
(!N U.S. PLAl'NT/FFCASES ONL Y)

(b) County of Resiclence of First Llsted Plaintlff Orange
(EXCEPT/N U.$. PLAINT!FF CA$ES)

(c) Attomeys (Firm Name,Address and Telephone Number) lt you are
representing yourselt, provide the same information

Attorneys (Firm Nome, Address and Telephone Number) lt you are
representing yourself, provide the same information.

Law Offlces ofTodd M, Friedman, P.C.
369 S. Doheny Or., #415, Beverly Hllls, CA 90211
Phone: (877) 206~4741

 

 

ll. BAS|S OF JUR|SD|CTION (Pla€e an X in One bOX Only.) lll. ClTlZENSHlP OF PRINClPA_L PARTlES-For DlVer$lty Ca$es Only
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V. REQUESTED lN COMPLAlN'T': JURYDEMAND: Ye$ ij

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47 U.S.C. 227, et seq.,Telephone Consumer Protectlon ACt

No

(Check l‘Yes" only if demanded in complaint.)

i:j MONEY DEMANDED lN COMPLA|NT: $ 5,000,000.00
VI. CAUSE OF ACT|ON (Clte the U.S. Civil Statute under which you are filing and wrlte a brlefstatement of cause. Do not c|te jurisdictlonal statutes unless diversity.)

 

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Case Number:

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ClV|L COVER SHEET

Page 1 of 3

 

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ClVlL COVER SHEET

Vlll. VENUEZ Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Comp|aint or Notice of Removal.

 

 

 

 

Question A: Was this case removed from STATE CASE WAS ?END|NG li\l THE COUN`i`{ OF: lNlT|AL DlVlSiON lN CACD lS:
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Question D, below, and skip to Section lX.

 

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Question B: ls the United States, or one of

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SOUTHERN DiVlS|ON. EASTERN DlVlSlON.
Enter "Southern" in response to Question D, below. Enter "Eastern" in response to Question D, below,
if none applies, answer question C2 to the right. -} if none applies, go to the box below. l

 

 

Your case will initially be assigned to the
WESTERN D|\/|S|ON.
Enter "Western" ln response to Questlon D below,

 

 

 

 

Question D: initial Di_vision? . lN|TlAl. DlV|SlON lN CACD

 

Enter the initial division determined by Question A, B, or C above: _}

 

 

SOUTHERN

 

 

 

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Case 8:14-cv-00151-AG-AN ocument 1 Filed 02/03/14 Pa egof 12 Page |D #i15
uNiTeo sTATEs oisTch couRr, cENTRAL oisrRicT or c LiFoRNiA

v -,

 

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ClVlL COVER SHEET

lX(a). iDENTlCAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO i:i YES

|fyes, list case number(sl:

 

lX[b}. RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO ij YES

if yes, list case numberis):

 

Civi| cases are deemed related ifa previously filed case and the present case:

lCh€Cl< all boxes that appl`/l l___l A. Arise from the same or closely related transactions happeningsl or events: or

)(. SIGNATURE OF ATl`ORNEY
(OR SELF-REPRESENTED LlTlGAN'T'):

[:i B. Call for determination of the same or substantially related rasimilamuestions oflaw and fact; or

ij C. For other reasons would entail substantial dupli tion oflabor iii eard by dlfferentiudges; or

g D. involve the same patent, trademarko/rco yr|ght._and_one othe/fato s identified above in a. b or c also is present.

/

DATE: January 3, 2014

 

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Notice to Courisel/Parties:'i'he CV-7l (15-44) Civ`il Cover$heet and the information contained herein neither replace nor supplement the filing and service Ofpleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Loca| Rule 3-1 is not filed
but is used by the C|erk of the Court ior the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed lnstructions, see separate instructions sheet].

 

 

Key to Statistica| codes relating to Social 5ecurity Cases:

Nature of Suit Code

861

862

863

863

864

865

i‘ilA

BL

DIWC

DIWW

SSiD

RSl

Abbreviation

Substantive Statement of Cause of ACtion

A|| claims for health insurance benefits (Medicare) under Tit|e 18, PartA, of the Social Security Aci, as amended. A|so,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers ofservices under the program.
(42 U.S.C.1935FF(bl}

All rilaims for "Black Lung" benefits under Tltle 4, Part B, ofthe Federal Coal Nline Hea|th and Safety Ac‘t of1969. (30 U.S.C.
923

All claims filed by insured workers for disability insurance benefits under Titie 2 of the Social Security Act, as amended; plus
all claims filed for chlld‘s insurance benefits based on disabliity. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Securlty Act, as
amended. (42 U.S.C. 405 {g))

Ali dang for supplemental security income payments based upon disability filed under Titie 16 ofthe Social Security Act, as
amen e .

A|l claims for retirement (old agel and survivors benefits under 'iit|e 2 ofthe Social Security Act, as amended.
(42 U.S.C. 405 ig))

 

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